                         In the United States District Court
                       For the Middle District of Pennsylvania
                                Williamsport Division

LAMARR PIRKLE, THEODORE
DANNERTH, LAUREN DANKS, and
CASEY FLYNN,
                           Plaintiffs,   Case No.: 4:20-cv-02088-MWB
    v.
                                         Memorandum in Support of
GOVERNOR THOMAS W. WOLF,
                                         Motion for Declaratory and Permanent
in his official capacity, KATHRYN
                                         Injunctive Relief
BOOCKVAR, secretary of the Com-
monwealth of Pennsylvania, in her
official capacity,
                         Defendants

                  Memorandum in Support of
     Motion for Declaratory and Permanent Injunctive Relief
    The evidence of illegal voting in key counties demonstrates that Plaintiffs

(“Voters”) have suffered the personal harm of vote dilution. If Defendants include

presidential-election results from those key counties in certifying Presidential Elec-

tors for this Commonwealth, Voters will irreparably suffer the disenfranchisement

caused by vote dilution as illegal votes are sealed into the results and Presidential

Electors are chosen on the basis of illegal voting sufficient to change or cast doubt

on the outcome of the election in key counties. Sufficient evidence exists—pro-

vided in expert-report form at the evidentiary hearing—in these key counties of “an

irregularity or illegality sufficient to change or place in doubt the result,’” 26 Am.


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Jur. 2d Elections § 389 (quoting Gore v. Harris, 772 So.2d 1234 (Fla. 2000), rev’d

on other grounds, Bush v. Gore, 531 U.S. 98 (2000)), which is the general standard

for invalidating elections. Given the unique nature of Electoral College procedures,

there is insufficient time for the remedy of another election, so Voters’ Motion

seeks the following relief:

    1. Declare that the inclusion of illegal votes in identified counties violates
    Voters’ right to vote under the First and Fourteenth Amendment by vote-
    dilution disenfranchisement.
    2. Declare that the proper remedy for this constitutional violation as applied
    to presidential-election results is to exclude presidential-election results from
    those counties for the Presidential Elector certification under 3 U.S.C. § 6 for
    this state.
    3. Under that remedy, declare that there is sufficient evidence that illegal votes
    were counted in the identified county or counties to change or place in doubt
    the results of the November 3, 2020 presidential election results in contested
    counties, so that the county’s presidential-election results must be invalidated.
    4. Enjoin Defendants from preparing and conducting the certification activi-
    ties for Presidential Electors described in 3 U.S.C. § 6 (and applicable state
    law implementing the federal provision) without excluding the presidential-
    election results from the identified counties.

ECF No. 1 at 18. (3 U.S.C. § 6 is recited in the Motion.)

                                 Applicable Tests

    “Whether declaratory relief should be granted in an appropriate case is commit-

ted to the sound discretion of the trial court.” Main Line Paving Co. v. Bd. of

Educ., 725 F. Supp. 1349, 1357 (E.D. Pa. 1989) (citing Bituminous Coal Opera-

tors’ Ass’n v. Int’l Union UMW, 585 F.2d 586, 595-96 (3d Cir. 1978)). “In deter-


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mining the appropriateness of declaratory relief, the district court may consider

several factors, including whether a declaratory judgment will resolve an uncer-

tainty giving rise to a controversy, the convenience of the parties, the public inter-

est, and the availability of other remedies.” Nolu Plastics v. Valu Eng'g, No.

04-5149, 2005 U.S. Dist. LEXIS 4530, at *12 (E.D. Pa. Mar. 21, 2005) (citing see

Terra Nova Ins. Co. v. 900 Bar, 887 F.2d 1213, 1224 (3d Cir. 1989)).

    Regarding permanent injunctions, courts require movants to meet their burden

of proof, Ciba-Geigy Corp. v. Bolar Pharmaceutical Co., 747 F.2d 844, 850 (3d

Cir.1984), as to this test:

    (1) the moving party has shown actual success on the merits;
    (2) the moving party will be irreparably injured by the denial of injunctive
    relief;
    (3) the granting of the permanent injunction will not result in even greater
    harm to the defendant; and
    (4) the injunction would be in the public interest.

City of Phila. v. Sessions, 309 F. Supp. 3d 289, 338 (E.D. Pa. 2018) (quoting

Coffelt v. Fawkes, 765 F.3d 197, 201 (3d Cir. 2014)).

                                        Facts

Parties and Timeframe

    Plaintiffs are eligible registered voters in this state and were qualified to, and

did, vote for a presidential candidate in the November 3, 2020 presidential election

in this state. They are not residents of key counties identified below for which

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presidential-election results should be excluded from the presidential-election re-

sults used by Defendants to certify Presidential electors for this state. ECF No. 1 at

¶¶ 6-10 (the Complaint is verified as to this evidence).

    Defendants are authorized by federal and state law to engage the process of

certifying Presidential Electors under 3 U.S.C. § 6. ECF No. 1 at ¶¶ 11-13.

    The state certification of Presidential Electors prescribed in 3 U.S.C. § 6, will

occur this year by December 8, and the Electoral College votes on December 14.

Accordingly, Defendants must certify the results of the election of Presidential

Electors by December 8, though § 6 provides for certification or recertification of

results after litigation such as this.

Presidential-Election Results in Key Counties

    As of November 10, 2020, the following results were reported for presidential-

election results at the sites linked below, though these numbers are constantly

changing as updates continue.1 Statewide, 3,362,873 ballots cast for Joe Biden and

3,317,943 ballots cast for Donald Trump, a difference of 44,930 ballots.2 In Phila-

delphia County, 570,708 ballots were cast for Joe Biden and 127,813 ballots were




       1
        All links herein were checked on November 11, 2020, but results cited here
and elsewhere are as of November 10 and remain in flux.
       2
           See https://www.electionreturns.pa.gov/General/SummaryResults.

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cast for Donald Trump, a difference of 442,895 ballots.3 In Montgomery County,

313,543 ballots were cast for Joe Biden and 182,907 ballots were cast for Donald

Trump, a difference of 130,636 ballots.4 In Delaware County, 200,911 ballots

were cast for Joe Biden and 116,216 ballots were cast for Donald Trump, a differ-

ence of 84,695 ballots.5 And in Allegheny County, 415,861 ballots were cast for

Joe Biden and 274,348 ballots were cast for Donald Trump, a difference of 141,5-

13 ballots.6 These are the key counties for which presidential-election results

should be excluded in certifying Presidential Electors from this state.

Sufficient Evidence Places Doubt on Key-County Presidential-Election Results.

    Sufficient evidence exists to place in doubt the November 3 presidential-elec-

tion results in identified key counties in two forms: (1) evidence of specific illegal

actions and (2) analytical evidence from available data demonstrating illegal activi-


      3
        See
https://www.electionreturns.pa.gov/General/CountyResults?countyName=Philadel
phia&ElectionID=83&Election Type=G&IsActive=1.
      4
        See
https://www.electionreturns.pa.gov/General/CountyResults?countyName=Montgo
mery&ElectionID=83&ElectionType=G&IsActive=1.
      5
        See
https://www.electionreturns.pa.gov/General/CountyResults?countyName=Delawar
e&ElectionID=83&ElectionType=G&IsActive=1.
      6
        See
https://www.electionreturns.pa.gov/General/CountyResults?countyName=ALLEG
HENY&ElectionID=83&ElectionType=G&IsActive=1.

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ties. Some evidence of the first follows. But Voters have moved to consolidate this

case with the one brought by the Trump Campaign, see Ex. 1 (Trump campaign

complaint), and rely primarily on the Trump Campaign to establish the first sort of

evidence, some of which is described next.7

    In Philadelphia County, some voters were advised they needed to cure ballot

defects while others were not. (Ex. 1, at ¶¶ 133-34, 136.) Poll watchers were ex-

cluded from access to canvassing locations. (Id. at ¶¶ 142, 145.).

    In Montgomery County, a poll watcher overheard unregistered voters being

advised to return later to vote under a different name that was registered in the poll

book. (Id. at ¶ 117.) As of November 10, voter turnout was 88.5%, 19% higher

than statewide turnout of 69.3%. 2020 Voter Registration Statistics – Official, De-

partment of State,

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/VotingElectionStati

stics/Documents/2020%20Primary%20VR%20Stats%20%20FINAL.pdf (showing

574,403 registered voters in Montgomery County); Unofficial Election Results,

Montgomery County, Pennsylvania,

https://electionresults-montcopa.hub.arcgis.com/ (showing 508,442 ballots


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       Voters’ unique evidentiary contribution—to be submitted in the form of
one or more expert reports submitted at the evidentiary hearing—will then be
described.

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received in Montgomery County); Schaul et al., 2020 turnout is on pace to break

century-old records, The Washington Post,

https://www.washingtonpost.com/graphics/2020/elections/voter-turnout/ (showing

a 69.4% voter turnout statewide).

       In Delaware County, voters that were recorded to have received mail-in bal-

lots were given regular ballots and not required to sign the registration book. (Ex. 1

at ¶ 125.) Poll watchers were granted extremely restricted access to a back room

counting area. (Id. at ¶ 143.) And ballots received on Election Day were not sepa-

rated from ballots received after 8 p.m. that day. (Id. at ¶ 151.) Voter turnout was

75.87%, compared to statewide turnout of 69.3%. General Election Unofficial Re-

sults, Delaware County, Pennsylvania,

https://election.co.delaware.pa.us/eb/November_2020/index.html.

       In Allegheny County, voters were required to vote provisionally because the

records indicated they had requested to vote by mail when they had not. (Ex. 1 at

¶ 116.) Poll workers were reported to be close enough to voters so as to observe the

actual vote. (Id. at ¶ 120.) Voter turnout was 74.54%, compared to statewide turn-

out of 69.3%. Unofficial Results, Allegheny County, PA,

https://results.enr.clarityelections.com/PA/Allegheny/106267/web.264614/#/summ

ary.


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    Throughout the state, voters received mail-in ballots without applying for them,

in some cases receiving more than one. (Ex. 1 at ¶ 111.)

    Throughout the state, in-person voters were advised they must vote provision-

ally because they had asked for and received a mail-in ballot, when no such request

was made. (Id. at ¶ 112.) In some cases, they were outright denied the right to vote.

(Id. at ¶ 113.)

    It is estimated that over 680,000 ballots were processed without observation in

Allegheny and Philadelphia counties. (Id. at ¶ 148.)

    This and other evidence detailed in the Trump Complaint, (id. at ¶¶ 51-61, 107-

152), suffices to place in doubt the November 3 presidential-election results in

identified key counties and/or the state as a whole.

Voters Intend to Provide Broad Analytical Evidence of Harm from Data

    In addition to the foregoing evidence, Voters are currently compiling analytical

evidence of illegal voting from data they already have and are in the process of ob-

taining, some of which must come through expedited discovery (such as the final

data on who actually voted). They intend to produce this evidence at the eviden-

tiary hearing to establish that sufficient illegal ballots were included in the results

to change or place in doubt the November 3 presidential-election results. This will

be in the form of one or more expert reports based on data analysis comparing state


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mail-in/absentee, provisional, and poll-book records with state voter-registration

databases,8 U.S. Postal Service records, Social Security records, criminal-justice

records, department-of-motor-vehicle records, and other governmental and com-

mercial sources by using sophisticated and groundbreaking programs to determine

the extent of illegal voters and illegal votes, including double votes, votes by ineli-

gible voters, votes by phantom (fictitious) voters, felon votes (where illegal),

non-citizen votes, illegal ballot harvesting, and pattern recognition to identify

broader underlying subversion of the election results. Plaintiffs have persons with

such expertise and data-analysis software already in place who have begun prelimi-

nary analysis of available data to which final data, such as the official poll list, will

be added and reports generated.

    Based on preliminary information and belief, the expert report will identify

persons who cast votes illegally by casting multiple ballots, were deceased, had

moved, or were otherwise not qualified to vote in the November 3 presidential

election, along with evidence of illegal ballot stuffing, ballot harvesting, and other

illegal voting. This evidence will be shortly forthcoming when the relevant official

documents are final and available, for which discovery may be required, and the

result of the analysis and expert report(s) based thereon is expected to show that

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        This includes lists of voters using a Federal Postcard Application to register
vote, and any reports documenting voters contacted to cure rejected ballots.

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sufficient illegal ballots were included in the results to change or place in doubt the

November 3 presidential-election results in the key counties.

                                    Argument

    Voters (I) establish actual success on the merits, (II) the other permanent-in-

junction factors, and (III) the declaratory-judgment test.

                                          I.
                 Voters Establish Actual Success on the Merits.

    Voters establish actual success on the merits because (A) they have standing,

(B) certifying Presidential Electors without excluding presidential-election results

from key counties would violate voters’ fundamental right to vote by vote-dilution

disenfranchisement, and (C) excluding such results is an appropriate remedy.

A. Voters Have Standing for Their Vote-Dilution Disenfranchisement Claim.

    As recognized in Donald J. Trump for President v. Bullock, 2020 WL 5810556

(D. Mont. Sept. 30, 2020), individual voters have standing to bring a vote-dilution

disenfranchisement claim, id. at *7 & n.4. “[T]he Supreme Court has repeatedly

enumerated the principle that claims alleging a violation of the right to vote can

constitute an injury in fact despite the widespread reach of the conduct at issue.”

Id. at 7. See also Orloski v. Davis, 564 F. Supp. 526, 530 (W.D. Pa. 1983) (voter

standing to challenge right-to-vote burden); Pierce v. Allegheny County Bd. of



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Elections, 324 F. Supp. 2d 684, 693-93 (W.D. Pa. 2003) (voter standing to chal-

lenge right-to-vote burden).

    Voters meet the standing requirements of (1) injury in fact, (2) traceability, and

(3) redressability. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

    First, regarding “injury in fact,” id. at 560, protection for individual voting

rights have been increasingly recognized for decades. See, e.g., Baker v. Carr, 369

U.S. 186, (1962); Gray v. Sanders, 372 U.S. 186 (1963); Reynolds v. Sims, 377

U.S. 533 (1964); Moore v. Ogilvie, 394 U.S. 814 (1969). The fundamental right to

vote is well-established: “[T]he Constitution of the United States protects the right

of all qualified citizens to vote, in state as well as in federal elections” and to have

that vote counted. Reynolds, 377 U.S. at 554. “[T]he right of suffrage can be de-

nied by a debasement or dilution of the weight of a citizen’s vote just as effectively

as by wholly prohibiting the free exercise of the franchise.” Id. at 555. “The right

to vote can neither be denied outright, nor destroyed by alteration of ballots, nor

diluted by ballot-box stuffing.” Id. (internal citations omitted). Voters already suf-

fer personal vote-dilution harm by inclusion of illegal votes in identified key coun-

ties. Voters seek to stop the further vote-dilution disenfranchisement of having

Presidential Electors in this state certified on the basis of presidential-election re-

sults in counties where sufficient illegal ballots were included in the results to


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change or place in doubt the results of the November 3, 2020 presidential election

in this state. Those are constitutionally recognized, particularized harms.

    Second, regarding “traceability,” Lujan. 504 U.S. at 560, Defendants are re-

sponsible for the Presidential Elector certification proceedings in 3 U.S.C. § 6, so

the vote-dilution disenfranchisement resulting from such certifying that includes

presidential-election results from identified counties is fairly traceable to them.

    Third, regarding “redressability,” id. at 561, this vote-dilution disenfranchise-

ment of Voters will be redressed by excluding from the presidential-election results

on which Presidential Electors are certified those results from counties where suffi-

cient illegal ballots were included in the results to change or place in doubt the re-

sults of the November 3 presidential election in this state.

    Voters’ claim of vote-dilution disenfranchisement is not a generalized griev-

ance under Lujan’s two formulations of that doctrine:

    [1] a plaintiff raising only a generally available grievance about govern-
    ment—claiming only harm to his and every citizens’s interest in proper appli-
    cation of the Constitution and laws, and seeking relief that no more directly
    and tangibly benefits him than it does the public at large—does not state an
    Article III case or controversy,

id. at 560-61 (emphasis added), and

    [2] an injury amounting only to the alleged violation of a right to have the
    Government act in accordance with law [is] not judicially cognizable ... [and]
    cannot alone satisfy the requirements of Art. III . . . ,”


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id. at 575-76 (internal quotation marks and citation omitted). So there are two is-

sues: (1) whether the claimant is just a citizen trying only to make the government

do its job without more and (2) whether the claim the same claim held by “every

citizen.” Because the first issue is more specific, it is the core of the analysis.

“[T]he proper inquiry is whether the plaintiffs sue solely as citizens who insist that

the government follows the law.” Andrade v. NAACP of Austin, 345 S.W.3d 1, 8

(Tex. 2011) (citing E. Chemerinsky, Constitutional Law: Principles and Policies

91 (3d ed. 2006)) (emphasis added). “[N]either citizens nor taxpayers can appear

before a court simply to insist that the government and its officials adhere to the

requirements of law.” C.A. Wright et al., Federal Practice & Procedure § 3531.10

(3d ed. 2008) (emphasis added). Thus, mere “citizen” standing is the issue, and the

present challenge is not a generalized grievance under the first or second question.

    First, Voters don’t bring their claims under mere “citizen” standing. Rather,

they assert personal harm from the violation of their own fundamental right to

vote, protected by the First and Fourteenth Amendments. Voters’ claim is particu-

larized: They don’t challenge anything not directly bearing on their claim, so they

are not just trying to make the government do its job in some general way but

rather challenge that which particularly violates their rights.




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    Second, Voters assert a harm that is not the same as for every “citizen.” “The

bar is based not on the number of people affected—a grievance is not generalized

merely because it is suffered by large numbers of people.” Andrade, 345 S.W.3d at

7 (citing Chemerinsky, Constitutional Law 91). “[D]enying standing to persons

who are in fact injured simply because many others are also injured, would mean

that the most injurious and widespread Government actions could be questioned by

nobody.” United States v. SCRAP, 412 U.S. 660, 686-68 (1973). “[W]here a harm

is concrete, though widely shared, the Court has found injury in fact.” FEC v.

Akins, 524 U.S. 11, 24 (1998). Voters’ claim is four levels more specific than “ev-

ery citizen[’s]”: (1) within “citizens” are those eligible to register as voters—only

they have the potential to become registered voters; (2), within eligible voters are

registered voters—only they have a right to vote; (3) within eligible, registered vot-

ers are those who actually voted—only they have a vote subject to vote-dilution

disenfranchisement; and (4) within these eligible, registered, voters who actually

voted are those in a jurisdiction where there are counties with evidence that suffi-

cient illegal ballots were included in the results to change or place in doubt the re-

sults of the November 3 presidential election. These Voters don’t assert a general-

ized grievance.




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    So a court that fails to recognize voter standing for vote-dilution-disenfran-

chisement claims because they “are materially grounded on ostensible election

fraud that may be conceivably raised by any [state] voter,” Paher v. Cegavske, No.

3:20-cv-00243-MMD-WGC, 2020 WL 2748301, at *4 (D. Nev. May 27, 2020)

(emphasis in original), errs because Lujan based generality on citizens, not the

more specific voter, and no unqualified voter could have a vote harm—the very

issue here with illegal ballots. Paher noted that voters “argue[ed] that they did not

merely assert ‘citizen’ standing, and that harm is specific to them as registered, eli-

gible voters, who actually vote,” id., but instead of refuting that argument switched

to the “even if” response that their claim of likely vote fraud from mail-in ballots

was speculative, id. Here, the voting is done, and the evidence is based on what

happened, not what was likely to happen, so no speculation is at issue.9

    Two other reasons support voter standing. First, an election is the key opportu-

nity for “We the People,” U.S. Const. pmbl., to exercise their constitutional sover-

eignty in this democratic Republic, so elections are precisely about voters exercis-

ing their voting right, no one else is as directly affected as voters so disenfran-

chised, they must be able to challenge disenfranchisement. Second, political parties

are routinely permitted to assert the voting rights of their members in a representa-

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       Voters distinguished two inapplicable cases in ECF No. 12 at 7 n.1, incor-
porated here by reference.

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tional capacity, but that depends solely on the fact that those voting members have

standing. See, e.g., Summers v. Earth Island Institute, 555 U.S. 488, 498-99 (2009)

(for representational standing, organization must “make specific allegations estab-

lishing that at least one identified member had suffered or would suffer harm” or

that “all the members of the organization are affected by the challenged activity”);

cf. Georgia Republican Party v. SEC, 886 F.3d 1198, 1203-05 (11th Cir. 2018)

(rejecting political party standing for not establishing that a member had standing).

Voters necessarily have standing to challenge harms to their voting rights.

B. Certifying Presidential Electors Without Excluding Key Counties Would
   Violate Voters’ Fundamental Right to Vote by Vote-Dilution Disenfran-
   chisement.

    Certifying Presidential Electors without excluding presidential-election results

from key counties would violate Voters’ fundamental right to vote by vote-dilution

disenfranchisement. The key counties identified are those where sufficient illegal

ballots were included in results to change or place in doubt the November 3 presi-

dential-election results. Furthermore, once discovery provides the final data set of

who actually voted, Voters intend to provide the Court with one or more expert

reports that will establish this definitively at the evidentiary hearing in this matter.

    The right to vote, with the included right to have one’s vote counted, is pro-

tected by the First and Fourteenth Amendments and is fundamental, Harper v. Va.


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State Bd. of Elections, 383 U.S. 663, 667 (1966), and well-established: “Undeni-

ably the Constitution of the United States protects the right of all qualified citizens

to vote, in state as well as in federal elections” and to have that vote counted,

Reynolds v. Sims, 377 U.S. 533, 554 (1964).

    “The right to vote can neither be denied outright, nor destroyed by alteration of

ballots, nor diluted by ballot-box stuffing.” Id. at 555 (internal citations omitted).

“And the right of suffrage can be denied by a debasement or dilution of the weight

of a citizen’s vote just as effectively as by wholly prohibiting the free exercise of

the franchise.” Id. Illegal votes are a form of “ballot-box stuffing,” disenfranchis-

ing legal voters by diluting their votes.

    So if Defendants certify presidential-election results from counties where suffi-

cient illegal ballots were included in the results to change or place in doubt the No-

vember 3 presidential-election result, Voters’ valid, legal votes will be unconstitu-

tionally diluted by illegal votes.

C. Excluding Presidential-Election Results from Key Counties When Certify-
   ing Presidential Electors Is an Appropriate Remedy.

    As established in the Facts discussion, existing and forthcoming evidence es-

tablish that in identified key counties illegal voting has occurred in connection with

the presidential-election results, which establishes that Voters’ votes have been

unconstitutionally diluted. So the presidential-election elections in those counties

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should be invalidated and not included in the certification of votes for selecting

Presidential Electors.

    The relevant standard for invalidating election results from a particular juris-

diction generally is that “‘the party contesting the election demonstrates an irregu-

larity or illegality sufficient to change or place in doubt the result.’” 26 Am. Jur. 2d

Elections § 389 (quoting Gore v. Harris, 772 So.2d 1234 (Fla. 2000), rev’d on

other grounds, Bush v. Gore, 531 U.S. 98 (2000)). “Ordinarily, an election may be

contested only for matters that would impeach the fairness of the result.” Id. (citing

Duncan v. McMurray, 249 S.W.2d 156 (Ky. 1952); Appeal of Soucy, 649 A.2d 60

(N.H. 1994); Fielding v. South Carolina Election Com’n, 408 S.E.2d 232 (S.C.

1991). “An election will not be invalidated unless the party contesting the election

demonstrates an irregularity or illegality sufficient to change or place in doubt the

result.” Id. (citing Middleton v. Smith, 539 S.E.2d 163 (Ga. 2000)).

    In Harris, the Florida statute included as grounds for contesting an election

“‘Receipt of a number of illegal votes or rejection of a number of legal votes suffi-

cient to change or place in doubt the result of the election.’” 772 So.2d at 1250 (ci-

tation and emphasis omitted). Harris summarized the standard thus: “It is not

enough to show a reasonable possibility that election results could have been al-




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tered by such irregularities, or inaccuracies, rather, a reasonable probability that the

results of the election would have been changed must be shown.” Id. at 1255.

    This generally recognized standard is reflected in this State’s laws. In In re Ctr.

Twp. Democratic Party Supervisor Primary Election, 4 Pa. D. & C.4th 555 (Pa.

Com. Pl. 1989), a county trial court, applying 25 P.S. 3464, held that when “the

electoral process has been undermined by fraudulent and perhaps criminal conduct,

[the court’s] duty to act is overwhelming, particularly where, as here, the fraud

may have altered the outcome of the election,” id. at 560-61, and invalidated a

township election based on evidence of 15 fraudulently cast absentee ballots. In

Bright’s Contested Election, 292 Pa. 389 (1928), the Pennsylvania Supreme Court

affirmed the order of a trial court which, finding massive fraud, intimidation, and

illegal voting had occurred at one polling place, concluded that it could not deter-

mine which of the votes cast at that polling place were lawful and which were not,

and threw out the entire ballot count. Id. The Supreme Court affirmed its authority

“to throw out the entire poll of a district upon a proper showing.” Id. at 394. See

also In re Ctr. Twp. Democratic Party Supervisor Primary Election, 4 Pa. D. &

C.4th at 560 (“The Supreme Court specifically held that when it is not possible to

separate the lawful ballots from the unlawful or fraudulent ballots, then the entire

vote must be rejected and thrown out); Gollmar's Election, Case of, 316 Pa. 560,


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567, 175 A. 510, 513 (1934) (“There is no doubt that where such glaring fraud and

illegality exists as to make it impossible to purge the ballot boxes with any degree

of accuracy, the court may reject the whole vote of any or of several districts.”).

    Regarding evidence for invalidating election results in a jurisdiction, Harris

established that the required showing could be made (inter alia) by “credible statis-

tical evidence” establishing a changed election outcome “by a preponderance of a

reasonable probability,” 772 So.2d at 1250.

    In addition to states routinely providing for invalidating election results,

including in the Presidential Electors context, the U.S. Supreme Court itself in

Bush, 531 U.S. 98, required that partial recounts in some counties (that unconstitu-

tionally employed different and unclear standards for determining voter intent) be

excluded from the final count in the Florida 2000 presidential election because of

the constitutional flaws identified, id. at 107-12.

    The foregoing articulations of the standard for invalidating election results in a

particular jurisdiction—including proof of reasonable probability by credible sta-

tistical evidence—should be applied here to determine whether the election results

in certain counties should be excluded for purposes of certifying Presidential Elec-

tors. In some situations where election results are invalidated, a new election is or-

dered. See, e.g., Pabey v. Pastrick, 816 N.E.2d 1138 (Ind. 2004). But with the Elec-


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toral College scheduled to be certified by December 8 and to meet and vote on De-

cember 14, 2020, there is insufficient time for a new election in the counties

involved. Moreover, the Electoral College is unique and statutory provisions pro-

vide special procedures for moving the Electoral College vote along expeditiously

since the presidency is at issue. So the proper remedy here is to exclude the results

from jurisdictions meeting the standard for disqualifying elections from the final

results that are certified and reported for Presidential Electors.

    Because illegal votes dilute legal votes, the evidence establishes, and will es-

tablish, that the rights of Voters have been violated by vote-dilution disenfran-

chisement from the presidential-election results in the key counties. And Voters

will be further irreparably harmed if Defendants certify Presidential Electors in-

cluding such results from those key counties. Consequently, the presidential-elec-

tion results from the counties identified should not be included in certified and re-

ported totals for Presidential Electors from this state.

    In sum, Voters establish actual success on the merits.

                                          II.
         Voters Meet the Other Three Permanent-Injunction Factors.

    Voters also meet the other factors involving (A) irreparable harm, (B) no

greater harm to Defendants, and (C) the public interest.



                                           21
A. Voters will have irreparable harm absent the permanent injunction.

    Voters’ right to vote has already been diluted by illegal votes, a cognizable

harm to their fundamental right to vote protected by the First and Fourteenth

Amendments to the U.S. Constitution. Voters have already suffered the cognizable

harm of vote-dilution disenfranchisement. Voters seek to repair that harm to the

extent that the evidence in any key county establishes an irregularity or illegality

sufficient to change or place in doubt the result of the presidential-election results.

Where there is such a showing, certifying Presidential electors from this state on

the basis of that county’s presidential-election results would cause Voters irrepara-

ble harm because that vote-dilution disenfranchisement would become locked into

irreversible selection of Presidential Electors for this state based on those illegal

ballots.

B. Defendants will suffer no greater harm from a permanent injunction.

    While Voters will suffer constitutional harm absent requested relief, Defen-

dants would only be doing their constitutional duty to protect Voters’ fundamental

right to vote while engaging in their duty under 3 U.S.C. § 6 to certify Presidential

Electors. In fact, § 6 expressly provides for certification after a “final determina-

tion” resulting from litigation. Defendants are sued only in their official capacities

under 3 U.S.C. § 6, so their only interest is to accurately certify accurate presiden-


                                           22
tial-election results. They have no other cognizable interest under 3 U.S.C. § 6. No

personal or state interest comes into play. So they will suffer no harm from an or-

der of this Court providing the proper remedy requested.

C. An injunction would be in the public interest.

    An injunction is in the public interest. The public’s proper interest is like Defen-

dants’ in this context, i.e., no partisan or other interest is cognizable, only protect-

ing the right to vote, the integrity of elections, assuring fair and accurate results in

our election, and certifying Presidential Electors based on those bedrock principles

of our democratic Republic.

                                          III.
                 Voters Meet the Declaratory-Judgment Factors.

    Voters also meet the declaratory-judgment factors. See supra Applicable Tests.

Requested declarations will resolve uncertainty in this controversy. Any consider-

ations of party convenience must yield to constitutional duty and mandates. The

public interest favors relief for reasons just shown. Voters have no other remedy

for the violation of their constitutional rights. And they have established actual

success on the merits, requiring that they be given the relief the First and Four-

teenth Amendments, and 42 U.S.C. § 1983, require.




                                           23
                                Conclusion

   Voters’ motion for declaratory judgment and a permanent injunction should be

granted.


Date: November 12, 2020              Respectfully Submitted,

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                                      24
                               Certificate of Service

      I hereby certify that on November 12, 2020, I caused the foregoing Motion

to be filed with the United States District Court for the Middle District of

Pennsylvania, Williamsport Division, via the Court’s CM/ECF system, which serv-

ed all counsel of record.



                                        /s/ Anita Y. Milanovich
                                        Anita Y. Milanovich (MT #12176)
                                        Counsel for Plaintiffs




                                          25
